        Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 1 of 15




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
In the Matter of the                         )
Federal Bureau of Prisons’ Execution         )
Protocol Cases,                              )
                                             )
LEAD CASE: Roane et al. v. Barr              )       Case No. 19-mc-145 (TSC)
                                             )
                                             )
THIS DOCUMENT RELATES TO:                    )
                                             )
Lee (Honken) v. Barr, et al., 19-cv-2559     )
                                             )

 DEFENDANTS’ OPPOSITION TO PLAINTIFF DUSTIN HONKEN’S EMERGENCY
      MOTION FOR STAY OF EXECUTION PENDING CROSS-APPEAL
       Just two days ago, when vacating a preliminary injunction issued by this Court, the

Supreme Court reiterated its admonition that last-minute stays or injunctions blocking executions

are permissible only as an “extreme exception.” Barr v. Lee, No. 20A8, 2020 WL 3964985 (July

14, 2020) (per curiam) (quoting Bucklew, 587 U.S., at ___ (slip op., at 30)). The Supreme Court

made that point crystal clear when it again vacated yet two more preliminary injunctions issued by

this Court this morning, including one in this very case. Barr v. Purkey, No. 20A10, 591 U.S. __

(July 16, 2020). Plaintiff Dustin Honken now seeks to stay his execution, scheduled for 4 p.m.

July 17, 2020, pending his cross-appeal of this Court’s now-vacated injunction, id., in which the

Supreme Court determined that he is unlikely to succeed on the merits of his claim that the Federal
Bureau of Prison (BOP)’s Execution Protocol is arbitrary and capricious under the Administrative

Procedure Act (“APA”).

       A stay is unwarranted because Honken cannot make the requisite showing that he is likely

to succeed on the merits, given this Court’s finding as well as the Supreme Court’s conclusion that

Honken’s closely related Eighth Amendment claim was similarly unlikely to succeed on appeal.

Indeed, Honken’s co-plaintiff, Wesley Purkey, briefed the APA issue at length as an alternative
ground in the D.C. Circuit and the Supreme Court yesterday, but the D.C. Circuit did not discuss
        Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 2 of 15




the issue when denying the Government’s stay motion, and the Supreme Court ultimately granted

vacatur of this Court’s injunction without dissent. The Supreme Court has now vacated two

injunctions entered by this Court in this case when this Court found that the claim is likely to

succeed on the merits. There is no basis to grant another last-minute stay on a claim that this Court

itself found is unlikely to succeed on the merits.

       The government further requests that if the Court intends to issue a ruling on Honken’s

motion before his execution, that the Court do so today. This Court has already made the key

determination necessary to reject Honken’s request by concluding that he is unlikely to succeed

on the merits of his arbitrary-and-capriciousness claim. Plus, the events of the last few days—

including the need for the Supreme Court to review and issue its decision in the wee hours of the

morning, twice—illustrates the importance of this Court ruling as promptly as possible so as to

allow the parties an opportunity to seek appellate review. Any “[l]ast-minute” injunction from this

or any other court would be wholly improper at this time, both on the merits and the equities (for

the reasons the government has explained at length in filings before this Court) and especially on

the equities now that the execution is merely one day away. Bucklew, 139 S. Ct. at 1134; see id.

(noting that last-minute impediments to scheduled executions should be an “extreme exception”).

If the Court were to stay the execution at this point, the government would immediately seek relief

in the D.C. Circuit and the Supreme Court, with the intent to obtain a stay or vacatur in time to
carry out the execution as scheduled.

                                   STANDARD OF REVIEW

       Federal Rule of Civil Procedure 62(c) provides in relevant part: “When an appeal is taken

from an interlocutory or final judgment granting . . . an injunction, the court in its discretion may

suspend . . . an injunction” during the pendency of the appeal. District courts considering a motion

for such a stay consider the same factors as those governing a motion for a preliminary injunction:

“(1) whether the stay applicant has made a strong showing that he is likely to succeed on the merits;

(2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay
will substantially injure the other parties interested in the proceeding; and (4) where the public

                                                     2
        Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 3 of 15




interest lies.” Hilton v. Braunskill, 481 U.S. 770, 776 (1987). The likelihood of success prong is

most significant. Indeed, in reviewing injunctions issued by the lower courts, the Supreme Court

has recognized that summary vacatur is especially appropriate where a lower court enters a last-

minute stay of execution “without finding that [the prisoner] has a significant possibility of success

on the merits.” Dunn v. McNabb, 138 S. Ct. 369 (2017).

                                            ARGUMENT

   I.       THIS COURT HAS ALREADY CONCLUDED THAT HONKEN IS
            UNLIKELY TO SUCCEED ON THE MERITS OF HIS APA CLAIM
        Honken asks this Court to stay his execution on a ground that this Court has specifically
found unlikely to succeed on the merits—that the government’s adoption of a widely used,

Supreme-Court-approved lethal-injection protocol was arbitrary and capricious. Emergency Mot.

at 3, ECF No. 164. As an initial matter, Honken’s assertion cannot be squared with the Supreme

Court’s order two days ago vacating an injunction against the protocol that was based on the Eighth

Amendment. Barr v. Lee, No. 20A8 at 3, 591 U.S. ___ (2020). There, the Supreme Court offered

the following facts about BOP’s pentobarbital protocol, which “has become a mainstay of state

executions.” Id. at 2. The Court explained that pentobarbital:

        •   Has been adopted by five of the small number of States that currently implement the

            death penalty.

        •   Has been used to carry out over 100 executions, without incident.

        •   Has been repeatedly invoked by prisoners as a less painful and risky alternative to the

            lethal injection protocols of other jurisdictions.

        •   Was upheld by this Court last year, as applied to a prisoner with a unique medical

            condition that could only have increased any baseline risk of pain associated with

            pentobarbital as a general matter (citing Bucklew, 139 S. Ct. at 1112).

        •   Has been upheld by numerous Courts of Appeals against Eighth Amendment

            challenges similar to the one presented here. See, e.g., Whitaker v. Collier, 862 F. 3d

                                                   3
        Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 4 of 15




           490 (CA5 2017); Zink v. Lombardi, 783 F. 3d 1089 (CA8 2015); Gissendaner v.

           Commissioner, 779 F. 3d 1275 (CA11 2015).

No. 20A8, at 2. Honken’s claim that the government acted arbitrarily and capriciously in adopting

this well-vetted, humane protocol blinks reality.

       Honken (and his co-plaintiffs) have cast various aspects their Eighth Amendment

arguments as an arbitrary-and-capricious claim, contending that BOP failed to consider their

particularized grievances, and that this failure renders the protocol unlawful. Compare ECF No.

102, at 21-27 (plaintiffs’ motion for a preliminary injunction, arguing that the protocol violates the

Eighth Amendment because of the possibilities that pentobarbital will cause pain due to pulmonary

edema, that complications with IV lines will arise, and that compounded pharmacies will prove

unreliable), with Emergency Mot. at 3 (contending that BOP unlawfully failed to consider the

possibilities that pentobarbital will cause pain due to pulmonary edema, that complications with

IV lines will arise, and that compounded pharmacies will prove unreliable).            As this Court

correctly recognized, none of these alleged failure-to-consider arguments “rises to the level of

arbitrariness or capriciousness for an APA violation.” ECF No. 145 at 8. BOP more than satisfied

the APA’s deferential standard of review by “articulat[ing]” multiple “satisfactory explanation[s]

for its action” in adopting the federal protocol. Motor Vehicle Mfrs. Ass’n v. State Farm Mut.

Auto. Ins. Co., 463 U.S. 29, 43 (1983). Because “[n]o federal execution ha[d] occurred since

2003,” A.R. 869, the agency began by “[b]enchmarking” against state protocols, A.R. 930, a

touchstone that Honken and the other plaintiffs themselves have urged should guide the federal

government, see Bourgeois v. Barr, No. 19-1348 (June 5, 2020). Next, BOP considered the

protocol’s legality and confirmed that “pentobarbital is litigation tested.” A.R. 932. Further, BOP

consulted with medical professionals and reviewed publicly available expert testimony concerning

pentobarbital and other lethal agents. See A.R. 401-524, 527-761, 931. And finally, before

completing its selection, BOP confirmed the availability of a reliable supply of pentobarbital. See




                                                    4
        Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 5 of 15




A.R. 871-872 (noting that BOP “disfavored” a three-drug protocol “because of the complications

inherent in obtaining multiple drugs”).

       Despite all this, Honken has contended that BOP’s decision falls below the APA’s floor of

reasoned decision-making, arguing that BOP failed to consider several issues in developing the

protocol, all of which pertain to his allegations regarding the risk of unnecessary pain. As noted,

that is a topic the agency assuredly did consider, looking to judicial acceptance of similar protocols,

soliciting medical expert opinions, and surveying States’ widespread use of similar protocols

without incident. BOP did not “entirely fail[] to consider an important aspect of the problem,”

State Farm, 463 U.S. at 43, merely because Honken and the other plaintiffs disagree with BOP’s

balancing of the need to avoid pain during an execution with the many other considerations before

it—such as the feasibility of obtaining various lethal agents, see A.R. 870-872; the need to

“minimize[] * * * negative impact[s] on the safety, security, and operational integrity of the

correctional institution in which [executions] occur[],” A.R. 1020; and the “privacy interests of

those persons for whom the law and BOP policy requires such privacy,” A.R. 1020. To the

contrary, the fact that BOP struck the same balance as the States that conduct the most executions

strongly indicates that BOP acted entirely rationally. See No. 20A8, at 2.

       Unable to demonstrate that BOP did not consider the humaneness of the execution protocol

or risk of needless pain thereunder, Honken and the other plaintiffs have focused on their more
granular pain-related complaints about the protocol that they claim the agency did not consider

with sufficient specificity—namely, (1) the risk of flash pulmonary edema, (2) the risk of faulty

IV insertion, and (3) the risks associated with using compounding pharmacies to obtain

pentobarbital. But a party unhappy with an agency’s choice may not invalidate it simply by

identifying narrower subtopics on a matter the agency considered in making a rational choice. On

the contrary, even in a proceeding in which the public has a right to participate—unlike the

adoption of the procedural rule here—“[t]he agency need only state the main reasons for its

decision and indicate that it has considered the most important objections.” Simpson v. Young,
854 F.2d 1429, 1434-35 (D.C. Cir. 1988) (emphasis added); cf. Public Citizen, Inc. v. FAA, 988

                                                  5
        Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 6 of 15




F.2d 186, 197 (D.C. Cir. 1993) (explaining that during notice-and-comment rulemaking, “the

agency’s response to public comments need only enable us to see what major issues of policy were

ventilated * * * and why the agency reacted to them as it did”) (citation omitted). Procedural

rules governing only the agency’s own “internal house-keeping measures” such as the federal

protocol, 955 F.3d 106, 145, certainly require no greater level of specificity.

       Honken and other plaintiffs’ proposed level of scrutiny would be particularly anomalous

as applied to agency action exempt from notice-and-comment requirements. In such situations,

the public does not provide the agency with ex ante notice of the issues it thinks should be

considered in making a decision—rather, the agency must identify and address issues sua sponte.

It is thus unsurprising that courts give agencies considerable deference in determining which issues

to explicitly take into account. See Pension Ben. Guar. Corp. v. LTV Corp., 496 U.S. 633, 645-

646 (1990) (rejecting courts of appeals’ conclusion that an agency’s decision in an informal

adjudication was arbitrary and capricious because the “record did not reflect thorough and explicit

consideration” of three arguably relevant “bodies of law”). Litigants unhappy with the agency’s

choices will always be able to raise after-the-fact, subsidiary issues the agency did not expressly

address in the administrative record. If such objections sufficed to render an agency’s decision

arbitrary and capricious, it could become virtually impossible to proceed through any form of

rulemaking outside the APA’s notice-and-comment procedures, contrary to Congress’s express
authorization, see, e.g., 5 U.S.C. 553(b). See LTV Corp., 496 U.S. at 646 (“If agency action may

be disturbed whenever a reviewing court is able to point to an arguably relevant statutory policy

that was not explicitly considered, then a very large number of agency decisions might be open to

judicial invalidation.”).    Indeed, Congress made the notice-and-comment requirements

inapplicable in certain circumstances precisely because it recognized a need for the agency to be

able to act quickly and nimbly with respect to the exempted types of rules. See Batterton v.

Marshall, 648 F.2d 694, 707 (D.C. Cir. 1980) (explaining that the procedural-rule “exception was

provided to ensure that agencies retain latitude in organizing their internal operations”); Guardian
Federal Sav. and Loan Ass’n v. Federal Sav. and Loan Ins. Corp., 589 F.2d 658, 662 (D.C. Cir.

                                                 6
         Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 7 of 15




1978).     Honken and the other plaintiffs’ expansive failure-to-consider theory, permitting

invalidation by virtue of post hoc identification of narrow issues, defies this congressional design.

         Instances where courts have deemed agency action arbitrary and capricious for failure to

consider an aspect of a problem involve wholesale failure to consider a highly generalized issue at

all. See State Farm, 463 U.S. at 51. Such decisions provide no support for Honken’s suggestion

that courts can invalidate agency choices by demanding that the agency consider ever more specific

subtopics—a rule that would provide a ready-made route to force delay and reconsideration of

virtually any agency action.

   II.      THE BALANCE OF HARMS WEIGHS IN FAVOR OF DENYING A STAY
            OF HONKEN’S EXECUTION
         The equities weigh heavily against Honken. The Supreme Court has repeatedly recognized

the Government’s and the victims’ compelling interest in the timely enforcement of a death

sentence. See Calderon v. Thompson, 523 U.S. 538, 556 (1998); Gomez v. U.S. Dist. Court for N.

Dist. of Cal., 503 U.S. 653, 654 (1992); see also Bucklew v. Precythe, 139 S. Ct. 1112, 1134 (2019)

(“The people of Missouri, the surviving victims of [the condemned inmate’s] crimes, and others

like them deserve better. Even the principal dissent in Barr v. Purkey , 591 U.S. __, 2020 WL, 1–

2, acknowledges that the long delays that now typically occur between the time an offender is

sentenced to death and his execution are excessive.”) (citation omitted from parenthetical). Indeed,

in this very case, Judge Katsas has found that this Court “failed to recognize the important
governmental and public interest in the timely implementation of capital punishment.” In re

Execution Protocol Cases, 955 F.3d at 126 (Katsas, J., concurring). This is particularly the case

where, as here, the execution date is merely one day away and the government has mobilized its

resources to carry out the lawful sentence, as discussed in detail in the Declaration of Rick Winter

(dated July 8) ECF No. 139-1. Again, as the Supreme Court explained just two days ago in this

very same case, “‘[l]ast-minute stays’ like that issued this morning ‘should be the extreme

exception, not the norm.’” Barr v. Lee, No. 20A8, 2020 WL 3964985 (July 14, 2020) (per curiam)
(quoting Bucklew, 587 U.S., at ___ (slip op., at 30)).

                                                 7
        Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 8 of 15




       “Reasonable people of good faith disagree on the morality and efficacy of capital

punishment, and for many who oppose it, no method of execution would ever be acceptable.” Baze

v. Rees, 553 U.S. 35, 61 (2008) (plurality opinion). But the people of the United States, acting

through Congress, have authorized the death penalty for serious federal offenses since President

Washington signed the Crimes Act of 1790. See Bucklew, 139 S. Ct. at 1122. Honken was

convicted by a federal court in Iowa for the murder of two prospective federal witnesses, along

with one of their girlfriends and her two young daughters. He was found guilty of the charged

offenses and worthy of the ultimate punishment by juries of his peers. He has fully exercised his

rights to appeal and seek collateral relief up and down the federal judicial system for years. After

searching review by many appellate judges, his convictions and sentences have been upheld as

lawful. BOP has already executed two plaintiffs in this case, Daniel Lewis Lee and Wesley Ira

Purkey, and is prepared to perform the remaining scheduled executions using a lethal-injection

protocol chosen precisely for its humanity and its constitutionality under this Court’s most recent

precedent. See id. at 1118-1119. This Court’s issuing yet another execution impediment—

requested the day before Honken’s execution date on a rationale that this Court has already found

unlikely to succeed—would not come close to tipping the equities toward Honken or justifying

further delay. At some point, “no more delay is warranted,” and the “execution must come.”

United States v. Lee, No. 97-cr-24 (E.D. Ark. July 10, 2020), slip op. 9, 10. That point has been
reached in this case.

                                         CONCLUSION

       For the foregoing reasons, Defendants respectfully request that this Court deny Honken’s

emergency motion to stay his execution pending his cross-appeal.



Dated: July 16, 2020
Respectfully submitted,
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                                                 8
      Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 9 of 15




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                                      9
         Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 10 of 15




                                   CERTIFICATE OF SERVICE
       I hereby certify that on July 16, 2020, I caused a true and correct copy of foregoing to be

served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

20, 2019 Order, below is a list of all plaintiffs’ counsel of record (as most recently identified in the

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        Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 11 of 15



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        Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 12 of 15


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        Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 13 of 15


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                                                  4
        Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 14 of 15


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                                            5
        Case 1:19-mc-00145-TSC Document 165 Filed 07/16/20 Page 15 of 15


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                                                6
